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     Telephone: (702)384-5563
 4
     Attorney for Defendant, WEI SENG PHUA
 5
 6                               UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA                     )
                                                  )
 9
                            Plaintiff,            )
10                                                )
     v.                                           )       2:14-CR-00249-APG-PAL
11                                                )       AMENDED
12   WEI SENG PHUA, DARREN WAI                    )       STIPULATION TO CONTINUE
     KIT PHUA, SENG CHEN YONG,                    )       DEFENDANTS’ MOTION TO
13   WAI KIN YONG, HUI TANG,                      )       SUPPRESS
     YAN ZHANG, YUNG KEUNG FAN                    )
14
     HERMAN CHUN SANG YEUNG,                      )
15                                                )
                            Defendant.            )
16                                                )
17
18                                            STIPULATION
19
20          IT IS HEREBY STIPULATED and AGREED by and between Kimberly M. Frayn,
21   Assistant United States Attorney, David Z. Chesnoff, Esq., attorney for Wei Seng Phua, Richard A.
22
     Schonfeld, Esq., attorney for Darren Wai Kit Phua, Michael Pancer, Esq., attorney for Defendant
23
     Seng Chen Yong and Wai Kin Yong, Andrew M. Lankler, Esq., attorney for Defendant Hui Tang,
24
25   Thomas F. Pitaro, Esq., attorney for Defendant Yan Zhang, Chris T. Rasmussen, Esq., attorney for
26   Defendant Yung Keung Fan, John V. Spilotro, Esq., attorney for Defendant Herman Chun Sang
27
     Yeung, that the previously ordered deadline for filing of Defendants’ Motions to Suppress be vacated
28
     and that the parties shall have to and including October 27, 2014, within which to file the
         Case
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 1   Defendants’ Suppression motions currently due October 17, 2014 (a Stipulation was previously filed,
 2
     Docket 216, requesting October 21, 2014 as a deadline, that Stipulation would be withdrawn as a
 3
     result of this Stipulation).
 4
 5           All other deadlines shall remain the same.

 6           This Stipulation is entered into for the following reasons:
 7
             1.        Assistant United States Attorney Kimberly Frayn is starting a trial that is anticipated
 8
     to last the week of October 20, 2014. The government has been provided drafts of the Motions to
 9
10   Suppress by the Defendants and has requested additional time before the Defendants file said

11   Motions, in order to provide the United States Attorney’s office additional time to analyze the issues
12
     raised therein;
13
             2.        The Government and the Defendants have no objection to the continuance;
14
15           3.        All deadlines for responses and replies will remain as previously Ordered and the

16   hearing date will also remain as previously scheduled.
17
             DATED this 17th of October, 2014.
18
     UNITED STATES ATTORNEY                                   CHESNOFF & SCHONFELD
19
20
       /s/ Kimberly M. Frayn                                   /s/ David Z. Chesnoff
21   KIMBERLY M. FRAYN, AUSA                                  DAVID Z. CHESNOFF, ESQ.
22   333 Las Vegas Blvd. S.                                   Nevada Bar No. 2292
     Las Vegas, Nevada 89101                                  520 South Fourth Street
23   Attorney for Plaintiff                                   Las Vegas, Nevada 89101
24                                                            Attorney for Defendant, Wei Seng Phua

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 1   CHESNOFF & SCHONFELD                      LAW OFFICES OF MICHAEL PANCER
 2
 3    /s/ Richard A. Schonfeld_ ________         /s/ Michael Pancer
     RICHARD A. SCHONFELD, ESQ.                MICHAEL PANCER, ESQ.
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     Nevada Bar No. 6815                       105 W. F. Street
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     Las Vegas, Nevada 89101                   DAVID T. BROWN, ESQ.
 6   Attorney for Defendant,                   520 South Fourth Street
 7   Darren Wai Kit Phua                       Las Vegas, NV 89101
                                               Attorneys for Defendants,
 8                                             Seng Chen Yong and Wai Kin Yong
 9
     BAKER BOTTS L.L.P.                        THOMAS F. PITARO
10
11
12    /s/ Andrew M. Lankler                      /s/ Thomas F. Pitaro
     ANDREW M. LANKLER, ESQ.                   THOMAS F. PITARO, ESQ.
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     Attorney for Defendant, Hui Tang          Attorney for Defendant, Yan Zhang
15
     SPILOTRO & KULLA                          RASMUSSEN & KANG LLC
16
17
       /s/ John V. Spilotro                      /s/ Chris T. Rasmussen
18   626 S. Third Street                       CHRIS T. RASMUSSEN, ESQ.
19   Las Vegas, Nevada 89101                   330 S. Third Street
     Attorney for Defendant,                   Ste. 1010
20   Herman Chun Sang Yeung                    Las Vegas, NV 89101
                                               Attorney for Defendant, Yung Keung Fan
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 5   Attorney for Defendant, Wei Seng Phua

 6
 7                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA                         )
10                                                    )
                              Plaintiff,              )
11                                                    )
12   v.                                               )       2:14-CR-00249-APG-PAL
                                                      )
13   WEI SENG PHUA, DARREN WAI                        )       STIPULATION TO CONTINUE
     KIT PHUA, SENG CHEN YONG,                        )       PRETRIAL MOTION DEADLINES AND
14
     WAI KIN YONG, HUI TANG,                          )       TRIAL DATE AND PROPOSED
15   YAN ZHANG, YUNG KEUNG FAN                        )       ORDER
     HERMAN CHUN SANG YEUNG,                          )
16                                                    )
17                            Defendant.              )
                                                      )
18
                       FINDINGS OF FACT, CONCLUSION OF LAW AND ORDER
19
20          Based upon the pending Stipulation of counsel, and good cause appearing therefore, the
21   Court finds that:
22
            1.         Assistant United States Attorney Kimberly Frayn is starting a trial that is anticipated
23
     to last the week of October 20, 2014. The government has been provided drafts of the Motions to
24
25   Suppress by the Defendants and has requested additional time before the Defendants file said
26   Motions, in order to provide the United States Attorney’s office additional time to analyze the issues
27
     raised therein;
28

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 1          2.       The Government and the Defendants have no objection to the continuance;
 2
            3.       All deadlines for responses and replies will remain as previously Ordered and the
 3
     hearing date will also remain as previously scheduled.
 4
 5                                                ORDER

 6          IT IS HEREBY ORDERED that the parties herein shall be have to and including October
 7
     27, 2014, to file any and all Motions to Suppress.
 8
            IT IS FURTHER ORDERED that all other deadlines and hearing dates shall stand.
 9
10          DATED this 20 day of October              , 2014.
11
12
                                                     UNITED STATES MAGISTRATE JUDGE
13
14
15
     Submitted by:
16
17
     /s/ David Z. Chesnoff
18   DAVID Z. CHESNOFF, ESQ.
19   Attorney for Defendant, Wei Seng Phua

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